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                      EXHIBIT KK
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       7
             Attorneys for Sheriff, Police Chief, and
       8     Chief P[obation Intervenor-Defendants
       9
  10                                   IN THE UNITED STATES DISTRICT COURTS
  1.1                               FOR THE EASTERN.DISTRICT OF CALIFORNIA
  12                               AND THE NORTHERN DISTRICT OF CALIFORNIA

  13                 UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
  14                       PURSUANT TO SECTION                2284, TITLE 28 UNITED STATES CODE
  15
            RALPH          COLEMAN, et al.,                        Case No: CIV S-90-0520 LKK JFM P
  16
                              Plaintiffs,                         THREE-JUDGE COURT
  17
                     VS.
  18
            ARNOLD          SCHWARZENEGGER, et
  19        al.,
 20                            Defendants.
 21
                                                                  [F.R.C.P. 24; 18 U.S.C. § 3626(a)(3)(F)]
 22
                                                                  CaseNo.: C0t-1351 TEH
 23         MARCIANO PLATA,                  et   al.,
                                                                  THREE-JUDGE COURT
 24                            Plaintiffs,
                                                                  INTERVENOR-DEFENDANT SHASTA
 25                 VS.                                           COUNTY SHERIFF' S RESPONSES TO
                                                                  PLAINTIFFS' FIRST SET OF
 26.        ARNOLD          SCHWARZENEGGER, et                   INTERROGATORIES
            al.,
 27
                              Defendants.
 28

               INTERVENOR-DEFENDANT SHASTA COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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  1       PROPOUNDING PARTIES:                  Plaintiffs, MARCIANO PLATA, et al.
  2       RESPONDING PARTY:                     Intervenor-Defendant, SHASTA COUNTY SHERIFF
  3       SET NUMBER:                           One (1)

  4              TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
   5             Pursuant to Federal Rules of Civil Procedure Rule 3 3, lntervenor-Defendant
   6      Shasta County Sheriff separately and fully, responds to Plaintiffs' First Set of
   7      Interrogatories as follows:
      8                           Preliminary Statement and General Objections
   9             1.      Intervenor-Defendant has not completed investigation
                                                                                       oft•he, facts relating
  10      to this case, has not completed discovery in this action and has not completed preparation
  11      for trial. Therefore, these responses, while based on diligent factual exploration, reflect
  12      only tntervenor,Defendant's current state of knowledge, understanding, and belief with
  13      regard to the matters about which inquiry has been made. Intervenor-Defendant reserves
  14      the right to supplement these responses .with subsequently obtained or discovered
  15      information. With regard to each interrogatory, Intervenor-Defendant reserves the right,
  16      notwithstanding these answers and responses, to employ at trial or in any pretrial
  17      proceeding herein informationsubsequently obtained or .discovered, information the
  18      materiality of which is not presently ascertained, or information Intervenor-Defendant
  19      does not regard as coming within the scope of the interrogatories as Intervenor-Defendan
  20      understands them.
  21              2.     These responses are made    solely for the purpose of this action. Each
  22      answer is subject to all objections as to competence;
                                                                   relevance, materiality, propriety,
  23      admissibility, privacy, privilege, and any and all other objections that would require
  24      exclusion of any statement contained herein if any such interrogatories were asked_of, or
  25      any statement contained herein if any. such interrogatories were asked of, or any
  26      statement contained herein were made by, a witness present and testifying in court, all of

  27      which obj ections and grounds are reserved and may be interposed at the time-of trial.
  28              3.      Except for explicit facts admitted herein, no incidental or implied
                                                            -2-
            INTERVENOR-DEFENDANT SHASTA COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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       1.   admissions are intended hereby. Intervenor-Defendant's answers or objections to any
       2    interrogatory     are   not. an admission of any fact set forth or   assumedby that interrogatory.
   .3       In addition, each of Intervenor-Defendant's answers to an interrogatory or part of.any
      interrogatory is not a waiver of part or all of any objection he might make to that
       4
    5 .interrogatory, or an admission that such answer or objection constitutes admissible
    6 evidence. Intervenor-Defendant asserts these objections without waiving or.intending to
    7 waive any objections as to competency, relevancy, materiality or privilege.
    8        4.       To the extent Interven0r-Defendant responds to these interrogatories, the
   9 responses will not include information protected by the right of privacy. All objections
  10 on the grounds of constitutional and common law privacy rights are expressly preserved.
  11          5.       Intervenor-Defendant objects to each and every Interrogatory to the extent
  12 that Plaintiffs are requesting information that is neither relevant to the subject matter of
  13 this action nor reasonably calculated to lead to the discovery of admissible evidence.
  14          6.      Intervenor-Defendant objects to the Interrogatories to the extent that they
  15 are vague and ambiguous and do not include adequate definition, specificity, or limiting
  16        factors.
  17                   7.     Intervenor-Defendant objects to the Definitions provided by Plaintiffs and
  18        the term "PERSON." The definition is .vague, ambiguous, and overbroadas used in thes•
  19        Interrogatories.
  20                Subject to and without waiving the foregoing objections, and incorporating them
  21        by reference into each of the responses provided below, Intervenor-Defendant hereby
  22        responds as follows:
  23        INTERROGATORY NO, 1:
  24                   From January 1, 1995 until the present, have any limit(s) been in place, as the
  25        result of any lawsuit, on the number of people that can be housed in any jail operated
  26        and/or maintained by YOU? If so:
  27                       (a)         State the name, date and case number of every case which resulted ii
  28        any such limit(s).
                                                               -3-
              INTERVENOR-DEFENDANT SHASTA COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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  1    RESPONSE TO         INTERROGATORY NO. 1:
  2            In addition to the General Objections stated above, Intervenor-Defendant objects
  3    to this interrogatory on the grounds that it is vague,
                                                               ambiguous and overbroad; to the
  4    extent that it seeks information not relevant to this
                                                              litigation nor reasonably calculated to
  5    lead.to the discovery of admissible evidence.
             Without waiving and subject to the objections, Intervenor-Defendant responds tha
  7    from January 1, 1995 until present, limits have been in place as a result of County of
  8    Shasta v. Jim Pope, Stipulation and Proposed Order No. 115258.
  9    INTERROGATORY NO. 2:
 10           In any instance, from January 1, 1995 until the present, in which any limit(s) have
 il    been in place on the number of people that can .be housed in any jail operated and/or
 12    maintained by YOU, what mechanisms were used to comply with those limits?
 13                 (a) Identify all DOCUMENTS which relate to YOUR answer.
 14                   (b)       Identify all PERSONS whom YOU believe or suspect have
 15    information to support YOUR          answer.

 16    RESPONSE TO INTERROGATORY NO. 2:
 17           In addition to the General Objections stated above, Intervenor-Defendant objects
 18    to this interrogatory    on   the grounds that it is vague, ambiguous and overbroad; to the
 19    extent that it geeks    information not relevant to this litigation nor reasonably calculated to
 2O    lead to the discovery of admissible evidence.
 21           Without waivingand subject to the objections, Intervenor-Defendant responds that
 22    from January   1,-1995 until present, mechanisms used to comply with limits arespecified
 23    in the County.of Shasta v. Jim Pope, Stipulation and Proposed Order No. 115258, in
 24    addition to internal policies and procedures and the California Penal Code.
 25           (a)     Memo to all Custody Division Sergeants and Classification Officers and
 26    County of Shasta v. Jim Pope, Stipulation and Proposed Order No. 115258.
 .27         (b) Sheriff Tom Bosenko and Captain Don Van Buskirk.
 28
                                                         -4-
         INTERVENOR2DEFENDANT SHASTA COUNTY-SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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       INTERROGATORY NO. 3:
              From January 1, 1995 until present, how many people have had their releases from

       any j all operated and/or maintained by YOU accelerated as a result of any limit(s)
                                                                                                     placed
       on the number of people that coza
                                          be housed in that jail?
                      (a)     Identify all DOCUMENTS which relate to YOUR answer.
   6                  (b)     Identify all PERSONS whom YOU believe or suspect have
   7   information to support YOUR        answer.

   8   RESPONSE TO INTERROGATORY NO, 3:
   9          In addition to the General  Objections stated above, Intervenor-Defendant objects
  10   to this interrogatory on the grounds that it is vague, ambiguous and overbroad; to the

  11   extent that it seeks information not relevant to this litigation nor reasonably calculated to

  12   lead to the discovery of admissible evidence.
  13           Without waiving and subject to the objections, Intervenor-Defendant responds that
  14   from January 1, 1995 until present, 14371 inmates have been released as a result of limits
  15   placed on the number of people that can be housed.
  16          (a)    Shasta Count5" Main Jail Superior Court Cap Report form; Shasta County
  17   Main Jail Superior Court Cap Quarterly Report and letter to Presiding Judge; Quarterly
  18   Capacity Releases since 1993 recap.
  19          (b) Sheriff Tom Bosenko and Captain Don Van Buskirk.
  20   INTERROGATORY NO. 4:
  21          What ALTERNATIVE PLACEMENT PROGRAMS have been in existence, from
  22   January 1, 1995 Until present, in any county in which YOU operate and/or maintain a
  23   jail?
  24                 (a)    For each such program, describe the mission and/or purpose of the
  25   placement program.
  26                 (b) For each such program, identify what criteria are used to decide who
  27   may enter the program.
  28                  (c)     Identify all DOCUMENTS which relate to YOUR answer.

         INTERVENOR-DEFENDANT SHASTA COUNT5 SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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                       (d)    Identify all PERSONS whom YOU believe or suspect have
       information to support YOUR        answer.

       RESPONSE TO INTERROGATORY NO. 4:
                 In addition to the General Objections stated above,tntervenor-Defendant objects

       to thisinterrogatory on the grounds that it is vague, ambiguous and overbroad; to the
   6   extent that it seeks information not relevant to this litigation nor reasonably calculated to

   7   lead to the discovery of admissible evidence.
   8             Without waiving and subject to the objections, Intervenor-Defendant responds that
   9   from January 1, 1995 until present, the County utilizes a Work Release Program.
  10           (a) The purpose of the Sheriff's Work Release Program is to ensure an
  11   accountability of minimum to medium security offenders (misdemeanor and felony) and
  12   to provide an opportunity to comlz lete their court imposed sentence.

  13           (b) Criteria considered includes criminal history, county jail history, state
  14   prison history, and the inmates ability to follow Work Release rule and refrain from
  15   violating any laws.
  16           (c)    Shasta County Sheriff's Office Work Release Program Application and
  17   Agreement.
  18             (d)    Sheriff Tom Bosenko, Captain Don Van Buskirk and Chief Probation
  19   Officer Brian Richart.
  20   Without waiving and subject to the objections, Intervenor-Defendant responds that from
  21   January 1, 1995 until present, the County utilizes a Home Electronic Confinement
  22   Program.
  23          (a)    The purpose of the Sheriff's Home Electronic Confinement Program is to

       ensure an accountability of minimum to medium security offenders (misdemeanor
  24                                                                                           and
  25   felony) and to provide an opportunity to complete their court imposed sentence.
  26          (b)    Criteria considered includes criminal history, county jail history, state
  27   prison history, and the inmates ability to follow Work Release rule and refrain from
  28   violating any laws.
         1NTERVENOR-DEFEND/•NT SHASTA COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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               (c) Shasta County Probation Department Home Electronic Confinement
         Program Application.
   3            (d) Sheriff Tom Bosenko, Captain Don Van BuSkirk and Chief Probation
   4     Officer Brian Richart.
    5
    6    DATED:      April 11, 2008                    Respectfully submitted,
                                                       JONES &MAYER
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    8
    9
                                                               A{tomeys for Sheriff, Probation, Police
  1.0.                                                          Chief, rind Corrections !nterven0r-
                                                                Defendants
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           INTERVENOR-DEFENDANT SHASTA COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
